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        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
   11

   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17
                                                 PLAINTIFFS’ NOTICE OF
   18   THIS DOCUMENT RELATES TO ALL             MOTION AND MOTION TO
        ACTIONS                                  EXCLUDE THE OPINIONS OF
   19                                            MARK A. ISRAEL
   20                                            JUDGE: Hon. Philip S. Gutierrez
                                                 DATE: January 27, 2023
   21                                            TIME: 1:30 p.m.
                                                 COURTROOM:
   22                                                First Street Courthouse
                                                     350 West 1st Street
   23                                                Courtroom 6A
                                                     Los Angeles, CA 90012
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTICE that on January 27, 2023, at 1:30 p.m., or as soon
    3   thereafter as counsel may be heard, in the courtroom of the Honorable Philip S.
    4   Gutierrez, Chief United States District Judge, Courtroom 6A, United States
    5   Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs will, and
    6   hereby do, move to exclude the opinions of NFL expert witness Mark A. Israel
    7   pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow
    8   Pharmaceuticals, Inc., 509 U.S. 579 (1993).
    9         This motion is based upon this notice; the concurrently filed memorandum of
   10   law; the exhibits and declarations submitted in connection therewith; the pleadings,
   11   documents, and records on file in this action; any argument that may be presented
   12   to the Court on this motion; and such other matters as the Court deems appropriate.
   13         This motion is made following the conference of counsel pursuant to the
   14   meet and confer requirements of Local Rule 7-3 that took place on November 28,
   15   2022.1
   16
            Dated: December 2, 2022           Respectfully submitted,
   17

   18                                         By:      /s/ Marc M. Seltzer
   19                                                  Marc M. Seltzer

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   26                                                Seth Ard (Pro Hac Vice)

   27   1
          Due to the Thanksgiving holiday and unavailability of counsel to hold the meet
   28   and confer on November 25, 2022, the parties agreed to conduct the meet and
        confer on November 28, 2022. Plaintiffs have been advised by the NFL Defendants
        that they agree that the parties have complied with Local Rule 7-3.
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                                                 Plaintiffs’ Co-Lead Counsel
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